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Telephone: (949) 252-9377
Facsimile: (949) 252-0090

HONEY BAKED HAM INC., a California
corporation,

Plaintiff,
Vv.

HONEY BAKED HAM COMPANY LLC,
a Delaware limited liability company; and
Does | through 20,

Defendants.

 

 

 

B:19-cv-01528-JVS-DFM Document10 Filed 08/08/19 Page 1of3 Page ID #:348

Attorneys for Plaintiff HONEY BAKED HAM INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.: 8:19-cv-01528-
Hon. James V. Selna

PROOF OF SERVICE OF
DECLARATION IN SUPPORT OF
APPLICATION TO FILE UNDER
SEAL AND UNREDACTED
DOCUMENTS

Complaint filed: August 8, 2019

 
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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF ORANGE

I am employed in the County of Orange, State of California. I am over the age of 18 and not
a party to the within action; my business address 4 Park Plaza, Suite 1230, Irvine, CA 92614.

On August 8, 2019, I served document(s) described as NOTICE OF ELECTRONIC
FILING OF SEALED DECLARATION IN SUPPORT OF APPLICATION TO FILE
EXHIBIT C OF GORE DECLARATION AND KISS DECLARATION UNDER SEAL
FILED BY PLAINTIFF HONEY BAKED HAM INC.; DECLARATION OF FILEMON
CARRILLO IN SUPPORT OF PLAINTIFF HONEY BAKED HAM INC.’S APPLICATION
TO FILE UNDER SEAL DOCUMENTS IN SUPPORT OF HBH CALIFORNIA’S
APPLICATION FOR TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW
CAUSE RE: PRELIMINARY INJUNCTION; UNREDACTED VERSION OF
DECLARATION OF RICHARD GORE IN SUPPORT OF HONEY BAKED HAM INC.’S
EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER AND OSC RE:
PRELIMINARY INJUNCTION; DECLARATION OF TIMOTHY KISS IN SUPPORT OF
HONEY BAKED HAM INC.’S EX PARTE APPLICATION FOR TEMPORARY
RESTRAINING ORDER AND OSC RE: PRELIMINARY INJUNCTION on the following
person at the addresses and/or facsimile number below:

J. David Mayberry

Kilpatrick Townsend & Stockton LLP
The Grace Building

1114 Avenue of the Americas

New York, NY 10036

(212) 775-8830
dmayberry@kilpatricktownsend.com

[ | VIA FACSIMILE — Based on an agreement by the parties to accept service by fax
transmission, I faxed the documents from a fax machine in Irvine, California, with the
number 949-252-0090, to the parties and/or attorney for the parties at the facsimile
transmission number(s) shown herein. The facsimile transmission was reported as complete
without error by a transmission report, issued by the facsimile transmission upon which the
transmission was made, a copy of which is attached hereto.

[X] BY ELECTRONIC SERVICE — Based on a court order or agreement of the parties to accept
service by electronic transmission, I caused the documents to be sent to the persons at the
electronic notification addresses listed herein on the above referenced date. I did not receive,
within a reasonable time after the transmission, any electronic message or other indication
that the transmission was unsuccessful.

[ ] BY MAIL - I am "readily familiar" with the firm's practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with the U.S. postal
service on that same day, with postage thereon fully prepaid, at Irvine, California in the
ordinary course of business. I am aware that on motion of the party served, service is
presumed invalid if postal cancellation date or postage meter date is more than one day after
date of deposit for mailing in affidavit.

PROOF OF SERVICE

 
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BY CERTIFIED MAIL - I am "readily familiar" with the firm's practice of collection and
processing correspondence for mailing. Under that practice it would be deposited with the
U.S. postal service on that same day, with postage thereon fully prepaid, at Irvine, California
in the ordinary course of business. I am aware that on motion of the party served, service is
presumed invalid if postal cancellation date or postage meter date is more than one day after
date of deposit for mailing in affidavit.

BY FEDERAL EXPRESS -— I am readily familiar with the firm's practice of collection and
processing correspondence for Federal Express. Under that practice it would be deposited
with Federal Express on that same day in the ordinary course of business for overnight
delivery with delivery costs thereon fully prepaid by sender, at Irvine, California.

BY MESSENGER SERVICE — I served the documents by placing them in an envelope or
package addressed to the persons at the addresses listed herein and providing them to a
professional messenger service for service. A declaration by the messenger service will be
filed separately.

BY PERSONAL SERVICE — I personally delivered the documents listed herein in person on
this date.

I declare under penalty of perjury under the laws of the State of California and the United

States of America that the above is true and correct.

Executed on August 8, 2019 at Irvine, California.

 

PROOF OF SERVICE

 
